Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 1 of 7 Page ID #:237



   1 ALAN M. RITCHIE (298989)

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   3 321 N. Clark Street, 26th Floor

   4 Chicago, Illinois 60654
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   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly          Case No. 8:19-cv-00098
       situated,
  13                                            STIPULATION TO EXTEND THE
  14               Plaintiff,                   DEADLINE TO ADD PARTIES
                                                AND AMEND PLEADINGS;
  15         vs.                                DECLARATION OF ALAN M.
  16                                            RITCHIE
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

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                   Defendant.
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       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 2 of 7 Page ID #:238



   1                                    STIPULATION
   2 TO THE HONORABLE COURT:

   3
              WHEREAS on January 21, 2019, Mariano Benitez (“Plaintiff”) filed a
   4
       putative class action complaint (“Complaint”) against Powerline Funding LLC
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   6
       (“Powerline”) (Dkt. No. 1);

   7          WHEREAS on June 7, 2019, the parties filed their Joint Case Management
   8 Statement (Dkt. No. 34);

   9          WHEREAS on June 19, 2019, the Court entered a Scheduling Order setting
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       the deadline to add parties and amend the pleadings as August 20, 2019 (Dkt. No.
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       37);
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  13
              WHEREAS on June 21, 2019, Plaintiff served Powerline with a set of

  14 interrogatories and requests for production of documents (“Discovery Requests”)

  15 (Declaration of Alan M. Ritchie (“Ritchie Decl.”) ¶ 2);

  16          WHEREAS on June 28, 2019, counsel for Powerline filed its unopposed
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       Motion for Leave to Withdraw as Counsel (“Motion to Withdraw”) (Dkt. No. 45);
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              WHEREAS counsel for Powerline’s Motion to Withdraw is currently set to
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       be heard on September 6, 2019 (Dkt. No. 45);

  21          WHEREAS Plaintiff’s counsel agreed to extend Powerline’s deadline to
  22 respond to Plaintiff’s Discovery Requests to September 9, 2019 to allow Powerline

  23 additional time to retain new counsel (Ritchie Decl. ¶ 4);

  24
              WHEREAS the parties jointly request that the deadline to add parties and
  25
       amend the pleadings (currently August 20, 2019) be extended to October 1, 2019 to
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       allow Powerline additional time to retain new counsel and respond to Plaintiff’s

  28 Discovery Requests, and to allow Plaintiff’s counsel sufficient time to review
                                               2
       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 3 of 7 Page ID #:239



   1 Powerline’s discovery responses prior to filing any motion to add parties and/or

   2 amend the pleadings;

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               WHEREAS the requested extension is supported by good cause as the
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       extension will allow Powerline additional time to retain new counsel and respond to
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       Plaintiff’s Discovery Requests, and also allow Plaintiff’s counsel sufficient time to

   7 review Powerline’s discovery responses prior to filing any motion to add parties

   8 and/or amend the pleadings (Ritchie Decl. ¶ 5);

   9           WHEREAS the requested continuance will not prejudice any party, cause any
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       undue delay or harm, or interfere with any other deadlines in this case (Ritchie Decl.
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       ¶ 6);
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  13
               IT IS HEREBY STIPULATED by and between the parties, through their

  14 respective counsel, that the deadline to add parties and amend the pleadings be

  15 extended to October 1, 2019.

  16                                           Respectfully submitted,
  17
       Dated: August 7, 2019                   Defendant Powerline Funding LLC
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  19                                           By: /s/ Alan M. Ritchie
                                                      One of its Attorneys
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  21                                           Alan M. Ritchie (298989)
                                               aritchie@pilgrimchristakis.com
  22
                                               Pilgrim Christakis LLC
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                                               Telephone: (312) 924-1773
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       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 4 of 7 Page ID #:240



   1 Dated August 7, 2019                      Plaintiff Mariano Benitez
   2
                                               By: /s/ Taylor T. Smith
   3                                                  One of his Attorneys
   4
                                               Steven L. Woodrow (admitted pro hac vice)
   5                                           swoodrow@woodrowpeluso.com
   6                                           Taylor T. Smith (admitted pro hac vice)
                                               tsmith@woodrowpeluso.com
   7                                           Woodrow & Peluso, LLC
   8                                           3900 East Mexico Ave, Suite 300
                                               Denver, Colorado 80210
   9                                           Telephone: (720) 213-0675
  10                                           Facsimile: (303) 927-0809

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  12
                               SIGNATURE CERTIFICATION
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             Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Plaintiff’s
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       counsel concurs with the content of this document and has authorized me to affix his
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  16 signature to the document and file the same with the Court.

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                                                      /s/ Alan M. Ritchie
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       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 5 of 7 Page ID #:241



   1                       DECLARATION OF ALAN M. RITCHIE
   2         I, Alan M. Ritchie, hereby declare under penalty of perjury that the following
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       statements are true and correct:
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             1.     I am an attorney with Pilgrim Christakis LLP, counsel of record for
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   6
       Defendant Powerline Funding LLC (“Powerline”).

   7         2.     On June 21, 2019, my office received an email from counsel for
   8 Plaintiff Mariano Benitez (“Plaintiff”) containing Plaintiff’s first set of

   9 interrogatories and requests for production of documents (“Discovery Requests”).

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             3.     On June 28, 2019, my office filed its unopposed Motion to Withdraw
  11
       as Counsel for Defendant Powerline Funding LLC (“Motion to Withdraw”) due to
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       professional considerations requiring termination of the representation. (See Dkt.

  14 No. 45.) The Motion to Withdraw is currently set to be heard on September 6,

  15 2019—the first available hearing date at the time the Motion was filed. (Id.)

  16         4.     Plaintiff’s counsel agreed to extend Powerline’s deadline to respond to
  17
       Plaintiff’s Discovery Requests to September 9, 2019 to allow Powerline additional
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       time to retain new counsel.
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             5.     Good cause exists for extending the deadline to add parties and amend

  21 the pleadings as the extension will allow Powerline additional time to retain new

  22 counsel and respond to Plaintiff’s Discovery Requests, and also allow Plaintiff’s

  23 counsel sufficient time to review Powerline’s discovery responses prior to filing any

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       motion to add parties and/or amend the pleadings.
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             6.     The requested extension will not prejudice any party, nor will it cause
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       any undue delay or harm. Plaintiff has stipulated to the requested extension and the

  28 extension will allow Plaintiff’s counsel sufficient time to review Powerline’s
                                                 5
       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 6 of 7 Page ID #:242



   1 discovery responses before filing any motion to add parties and/or amend the

   2 pleadings. Moreover, the requested extension will not affect any of the other

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       deadlines in this case. (See Dkt. No. 37.)
   4
             Executed on August 7, 2019 in Chicago, Illinois.
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                                                        Alan M. Ritchie
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       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
Case 8:19-cv-00098-JLS-DFM Document 47 Filed 08/07/19 Page 7 of 7 Page ID #:243



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   2
                                CERTIFICATE OF SERVICE
   3
             Alan M. Ritchie, an attorney, certifies that on August 7, 2019, he
   4
       electronically filed the foregoing with the Clerk of the Court by using the CM/ECF
   5

   6 system, which will send a notice of electronic filing to all attorneys of record.

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                                                     /s/ Alan M. Ritchie
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       STIPULATION TO EXTEND THE DEADLINE TO ADD PARTIES AND AMEND PLEADINGS; DECLARATION
                                                                        OF ALAN M. RITCHIE
